 Case 2:24-cr-20005-SOH Document 42              Filed 06/07/24 Page 1 of 1 PageID #: 90




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION



UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                               CASE NO. 2:24CR-20005-001

TAJUAN JOHNSON                                                                    DEFENDANT

                                           ORDER

       The Court ADOPTS the report and recommendation (Doc. 41) entered in this case and

accepts Defendant’s plea of guilty to Count 2 of the indictment. The Defendant is hereby adjudged

GUILTY of the offense.

       IT IS SO ORDERED this 7th day of June, 2024.


                                                           /s/P. K. Holmes ΙΙΙ
                                                           P.K. HOLMES III
                                                           U.S. DISTRICT JUDGE
